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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                           SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES


                              PRETRIAL ORDER NO. 38
               [Amending the Plaintiff Fact Sheet and Defendant Fact Sheet]

       As the parties began completing the fact sheets, various typographical issues and

inconsistencies were discovered in the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18,

Rec. Doc. 236-1) and the Defendant Fact Sheet (Exhibit “B” to Pretrial Order No. 18, Rec. Doc.

236-2). In response, Plaintiffs’ Liaison Counsel submitted revised versions of these documents to

the Court for approval.

       IT IS ORDERED that the Plaintiff Fact Sheet (Exhibit “A” to Pretrial Order No. 18, Rec.

Doc. 236-1)and the Defendant Fact Sheet (Exhibit “B” to Pretrial Order No. 18, Rec. Doc. 236-2)

be and are hereby updated in the record to reflect the revised version of these documents.

       New Orleans, Louisiana, this 12th day of April 2017



                                                     ____________________________________
                                                     KURT D. ENGELHARDT
                                                     UNITED STATES DISTRICT JUDGE




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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                  MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                             SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                   PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the best
of your knowledge. In completing this Fact Sheet, you are under oath and must provide information
that is true and correct to the best of your knowledge. If you cannot recall all of the details
requested, please provide as much information as you can. You must supplement your responses
if you learn that they are incomplete or incorrect in any material respect.

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities involved
in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s decedent; (2)
“document” means any writing or record of every type that is in your possession, including but
not limited to written documents, documents in electronic format, cassettes, videotapes,
photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-records, non-
identical copies, and other data compilations from which information can be obtained and
translated, if necessary, by the respondent through electronic devices into reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


                                                 1
                                                                                    Exhibit “A”
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               1. Caption:

               2. Court and Docket No.:

               3. MDL Docket No. (if different):

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Plaintiff’s Law Firm:

               7. Attorney’s Address:

               8. Attorney’s Phone Number:

               9. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               10. Name:_________________________________________________________

               11. Street Address:

               12. City:__________________________________________________________

               13. State:

               14. Zip code:

               15. Date of Birth:

               16. Place of Birth:

               17. Social Security Number:

               18. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               19. Sex: Male: ☐ Female: ☐

               20. Race:

                                         Race                     ☐
                        American Indian or Alaska Native          ☐

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                                       Race                          ☐
                    Asian                                            ☐
                    Black or African American                        ☐
                    Native Hawaiian or Other Pacific Islander        ☐
                    White                                            ☐


              21. Ethnicity:

                                    Ethnicity                        ☐
                    Hispanic or Latino                               ☐
                    Not Hispanic or Latino                           ☐


              22. Primary Language:         __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              23. Name:_________________________________________________________

              24. Address:

              25. Capacity in which you are representing the individual:___________________

              26. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              27. Relationship to the Represented Person:_______________________________

              28. State the date of death of the decedent:_______________________________

              29. State the place of death of the decedent:_______________________________

              30. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ☐ No☐




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ☐ Single: ☐ Engaged: ☐ Significant other: ☐
                 Divorced: ☐ Widowed: ☐ Same sex partner: ☐

              2. Have you ever been married? Yes ☐ No☐

              3. If yes, for EACH marriage, state the following:

                                                            Date
                                                  Date of                   Nature of
                       Spouse’s Name                      Marriage
                                                 Marriage                  Termination
                                                           Ended




Education

              4. For each level of education you completed, please check below:

              High School: ☐                    Vocational School: ☐

              College: AA: ☐ BA/BS: ☐ Masters: ☐ PhD: ☐ M.D.: ☐ Other:

Employment
              5. Are you currently employed? Yes ☐ No☐

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ☐ No☐

              8. Only if you are asserting a wage loss claim, please state the following for EACH
                 employer for the last seven (7) years:



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                                                                            Annual
                        Name of           Address of          Dates of                   Your
                                                                             Gross
                        Employer          Employer           Employment                 Position
                                                                            Income




              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ☐ No☐

              10. If yes, please state the following:

                      Name of Employer               Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ☐ No☐

              12. If yes, then as to EACH application, please state the following:

                    Year Claim                       Nature of Claimed     Period of    Award
                                       Court
                      Filed                               Injury           Disability   Amount




Military Service

              13. Have you ever served in any branch of the military? Yes ☐ No☐

              14. If yes, state the branch and dates of service:

                            Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ☐ No☐

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ☐ No ☐


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ☐ No☐

               19. If yes, please state the following:

                                            Screen Name or           Date of
                       Forum Name                                                   Substance of Post
                                             User Handle              Post




               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ☐ No☐

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III. PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOCETAXEL: Yes ☐ No☐

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ☐ No ☐ Unknown ☐


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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ☐ No☐

                   3. If yes, select all that apply:

                                  Name of Drug
                         Docetaxel – Winthrop                   ☐
                         Docetaxel – Teva Pharms USA            ☐
                         Docetaxel – Dr. Reddy’s Labs Ltd.      ☐
                         Docetaxel – Eagle Pharms               ☐
                         Docetaxel – Actavis Inc.               ☐
                         Docetaxel – Pfizer Labs                ☐
                         Docetaxel – Sandoz                     ☐
                         Docetaxel – Accord Healthcare,         ☐
                         Inc.
                         Docetaxel – Apotex Inc.                ☐
                         Docetaxel – Hospira Inc.               ☐
                         Docefrez – Sun Pharma Global,          ☐
                         Inc.
                         Unknown                                ☐

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ☐

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:

                       Feet:_______________        Inches:_______________

                   5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

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         6. Have you ever been pregnant? Yes ☐ No ☐

                a) Number of pregnancies:________

                b) Number of live births:_________

         7. If you have children, please state the following for EACH child:

                     Child’s Name              Address        Date of Birth




         8. Date of first period (menses):_________          Age:_________

         9. Date of last period (menses): _________          Age:_________

         10. Are you menopausal, perimenopausal or postmenopausal? Yes ☐ No☐

         11. For EACH year for the last seven (7) years before your first treatment with
             Taxotere® or Docetaxel and since then, who did you see for your annual
             gynecological exam? Also indicate whether an annual exam was skipped or
             missed.

                                                                                Skipped or
                       Doctor                Office            Year
                                                                                  Missed
                                                                                    ☐
                                                                                    ☐
                                                                                    ☐
                                                                                    ☐
                                                                                    ☐
                                                                                    ☐
                                                                                    ☐

         12. For EACH year after age 40, or before then if applicable, who did you see for
             your annual mammogram? Also indicate whether an annual mammogram was
             skipped or missed.

                                                                               Skipped or
                       Doctor                Office            Year
                                                                                 Missed
                                                                                   ☐
                                                                                   ☐
                                                                                   ☐
                                                                                   ☐

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                                                                                    Skipped or
                              Doctor                  Office          Year
                                                                                      Missed
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐
Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                          Family Member             Diagnosed    Age at Diagnosis
                     Mother                            ☐
                     Sister                            ☐
                     Daughter                          ☐
                     Paternal grandmother              ☐
                     Maternal grandmother              ☐

               14. Have you ever been diagnosed as having genes or gene mutations that carry an
                   increased cancer risk (e.g., BRCA1, BRCA2)? Yes ☐ No☐

                       a) If yes, which?                                          ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ☐ No☐

                       a) If yes, describe the particulars of your treatment or exposure:
                          _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ☐ No☐

               17. I have never used tobacco: Yes ☐ No☐

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ☐ No☐

               19. Identify types of tobacco use:

                                                                               Duration of
                               Type                 Used   Average Per Day
                                                                               Use (Years)
                      Cigarettes                     ☐


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                                                                              Duration of
                              Type             Used     Average Per Day
                                                                              Use (Years)
                    Cigars                       ☐
                    Pipes                        ☐
                    Chewing tobacco/snuff        ☐

Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ☐ No ☐

                 For purposes of this question, “regular basis” means that you were directed by
                 a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                 Prescriber               Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ☐ No☐

              2. Were you diagnosed with cancer more than once? Yes ☐ No☐

              3. Did you undergo any of the following for cancer?

                        Treatment           Treated
                    Surgery                   ☐
                    Radiation                 ☐
                    Chemotherapy              ☐

              4. For surgery, specify:

                         Type of Surgery           Treated
                    Double mastectomy                ☐
                    Left-side mastectomy             ☐
                    Right-side mastectomy            ☐
                    Lumpectomy                       ☐

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                    Other:_________________       ☐

            5. Please state the following for EACH cancer diagnosis:

Type of Cancer
Date of Diagnosis
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:
                       Name:
                       Address:
Treatment Facility
                       Dates of Treatment:
                       Treatment:


Type of Cancer
Date of Diagnosis
                       Name:
                       Address:
Primary Oncologist
                       Dates of Treatment:
                       Treatment:




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 Type of Cancer
 Date of Diagnosis
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Primary Oncologist
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:
                         Name:
                         Address:
 Treatment Facility
                         Dates of Treatment:
                         Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                              Diagnosis             Diagnosed
                     Breast cancer                     ☐
                     Non-small cell lung cancer        ☐
                     Prostate cancer                   ☐
                     Gastric adenocarcinoma            ☐
                     Head and neck cancer              ☐
                     Other:_________________           ☐

              8. For breast cancer, specify:


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                 a) Tumor size:

                                    Tumor Size                      Yes
                       TX                                           ☐
                       T0                                           ☐
                       Tis                                          ☐
                       T1                                           ☐
                       T2                                           ☐
                       T3                                           ☐
                       T4 (T4a, T4b, T4c, T4d)                      ☐

                 b) Metastasis:

                 c) Node involvement:

                                       Node                            Yes
                Node + NX                                              ☐
                Node + N0                                              ☐
                Node + N1                                              ☐
                Node + N2                                              ☐
                Node + N3                                              ☐
                Node – (negative)                                      ☐

                 d) HER2: + (positive): ☐ - (negative): ☐

                 e) Estrogen receptor: Positive (ER+): ☐ Negative (ER-): ☐

                 f) Progesterone receptor: Positive (PR+): ☐ Negative (PR-): ☐

          9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
             received? Yes ☐ No☐ Unknown ☐

          10. Have you ever been treated with other chemotherapy drugs, either alone or in
              combination with or sequentially with Taxotere® or Docetaxel? Yes ☐ No☐
              Unknown ☐

          11. If yes, check which of the following chemotherapy drugs you took:

                                 Drug                         Yes
               5-Fluorouracil (Eludex)                        ☐
               Actinomycin                                    ☐
               Altretamine (Hexalen)                          ☐
               Amsacrine                                      ☐
               Bleomycin                                      ☐

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                                  Drug                   Yes
               Busulfan (Busulfex, Myleran)              ☐
               Cabazitaxel: Mitoxantrone                 ☐
               Carboplatin (Paraplatin)                  ☐
               Carmustine (BiCNU, Gliadel)               ☐
               Cetuximab (Erbitux)                       ☐
               Chlorambucil (Leukeran)                   ☐
               Cisplatin (Platinol)                      ☐
               Cyclophosphamide (Neosar)                 ☐
               Cytarabine (Depocyt)                      ☐
               Dacarbazine                               ☐
               Daunorubicin (Cerubidine, DaunoXome)      ☐
               Doxorubicin (Adriamycin, Doxil)           ☐
               Epirubicin (Ellence)                      ☐
               Erlotinib (Tarceva)                       ☐
               Etoposide (Etopophos, Toposar)            ☐
               Everolimus (Afinitor, Zortress)           ☐
               Faslodex (Fulvestrant)                    ☐
               Gemcitabine (Gemzar)                      ☐
               Hexamethylmelamine (Hexalen)              ☐
               Hydroxyurea (Hydrea, Droxia)              ☐
               Idarubicin (Idamycin)                     ☐
               Ifosfamide (Ifex)                         ☐
               L-asparginase (crisantaspase)             ☐
               Lomustine (Ceenu)                         ☐
               Melphalan (Alkeran)                       ☐
               Mercaptopurine (Purinethol, Purixan)      ☐
               Methotrexate (Trexall, Rasuvo)            ☐
               Mitomycin                                 ☐
               Mitoxantrone                              ☐
               Nab-paclitaxel (Abraxane): Mitoxantrone   ☐
               Nitrogen mustard                          ☐
               Paclitaxel (Taxol)                        ☐
               Panitumumab (Vectibix)                    ☐
               Procarbazine (Matulane)                   ☐
               Sorafenib (Nexavar)                       ☐
               Teniposide (Vumon)                        ☐
               Thioguanine (Tabloid)                     ☐
               Thiotepa (Tepadina)                       ☐
               Topotecan (Hycamtin)                      ☐

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                                  Drug                          Yes
                Vemurafenib (Zelboraf)                          ☐
                Vinblastine                                     ☐
                Vincristine (Mariqibo, Vincasar)                ☐
                Vindesine                                       ☐
                Vinorelbine (Alocrest, Navelbine)               ☐
                Unknown                                         ☐

          12. Please provide the following information regarding Taxotere® or Docetaxel:

                 a) Number of cycles:

                 b) Frequency: Every week ☐ Every three weeks ☐ Other:____________

                 c) First treatment date:________

                 d) Last treatment date:________

                 e) Dosage:______________

                         (1) Combined with another chemotherapy drug: ☐

                         (2) Sequential with another chemotherapy drug: ☐

                         (3) If so, describe the combination or sequence:

          13. Prescribing Physician(s):

                      Prescribing Physician                      Address
                                                      Street:
                                                      City:
                                                      State:
                                                      Zip:
                                                      Street:
                                                      City:
                                                      State:
                                                      Zip:
                                                      Street:
                                                      City:
                                                      State:
                                                      Zip:

          14. Treatment Facility:

                        Treatment Facility                       Address
                                                      Street:

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                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:
                                                               Street:
                                                               City:
                                                               State:
                                                               Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                   State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ☐ No
                     ☐ Unknown ☐

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ☐ No☐

                 2. Are you currently cancer-free? Yes ☐ No☐

                 3. If no, check those that apply to your CURRENT status:

                                      Current Status                         Yes
                       In remission                                          ☐
                       Currently receiving chemotherapy                      ☐
                       Currently receiving radiation therapy                 ☐
                       Currently hospitalized for cancer or cancer-
                                                                              ☐
                       related complications


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                                      Current Status                      Yes
                       Currently in home health or hospice care for
                                                                           ☐
                       cancer or cancer-related complications
                       Cancer returned after taking Taxotere® or
                                                                           ☐
                       Docetaxel

                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                            Alleged Injury                      Yes No From To
                       Persistent total alopecia – No hair growth on your head
                       or body after six (6) months of discontinuing Taxotere® ☐ ☐
                       or Docetaxel treatment
                       Persistent alopecia of your head – No hair growth on
                       your head after six (6) months of discontinuing
                                                                                ☐ ☐
                       Taxotere® or Docetaxel treatment. Hair is present
                       elsewhere on your body
                       Permanent/Persistent Hair Loss on Scalp                  ☐ ☐
                       Diffuse thinning of hair: partial scalp
                               ☐ Top
                               ☐ Sides
                                                                                ☐ ☐
                               ☐ Back
                               ☐ Temples
                               ☐ Other:_____________________________
                       Diffuse thinning of hair: total scalp
                               ☐ Top
                               ☐ Sides
                                                                                ☐ ☐
                               ☐ Back
                               ☐ Temples
                               ☐ Other:_____________________________
                       Significant thinning of the hair on your head after six
                       (6) months of discontinuing Taxotere® or Docetaxel
                                                                                ☐ ☐
                       treatment – There are visible bald spots on your head
                       no matter how you style your hair
                       Moderate thinning of the hair on your head after six (6)
                       months of discontinuing Taxotere® or Docetaxel
                                                                                ☐ ☐
                       treatment – There is noticeable hair loss but if you
                       brush or style your hair, the hair loss is less evident
                       Small bald area in the hair on your head                 ☐ ☐
                       Large bald area in the hair on your head                 ☐ ☐


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                                       Alleged Injury                     Yes No From To
                   Multiple bald spots in the hair on your head           ☐ ☐
                   Change in the texture, thickness or color of your hair
                                                                          ☐ ☐
                   after Taxotere® or Docetaxel treatment
                   Other:______________________________________           ☐ ☐
                   Permanent/Persistent Loss of Eyebrows                  ☐ ☐
                   Permanent/Persistent Loss of Eyelashes                 ☐ ☐
                   Permanent/Persistent Loss of Body Hair                 ☐ ☐
                   Permanent/Persistent Loss of Genital Hair              ☐ ☐
                   Permanent/Persistent Loss of Nasal Hair                ☐ ☐
                   Permanent/Persistent Loss of Ear Hair                  ☐ ☐
                   Permanent/Persistent Loss of Hair in Other Areas
                                                                          ☐ ☐
                   Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ☐ No☐

                        Name of Treating Physician       Dates of Treatment         Treatments




             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ☐ No☐

                        Name of Treating Physician       Dates of Treatment         Treatments




             8. Have you discussed with any healthcare provider whether Taxotere® or Docetaxel
                caused or contributed to your alleged injury? Yes ☐ No☐

                   Name of Treating Physician            Dates of Treatment         Treatments




Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ☐ No☐


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          10. If yes, please describe the documents, if you no longer have them. If you have
              the documents, please produce them:

                                                               I Have the      I Do Not Have
                         Description of Document
                                                               Documents       the Documents
                                                                   ☐                 ☐
                                                                   ☐                 ☐
                                                                   ☐                 ☐

          11. Were you given any oral instructions from a healthcare provider regarding
              chemotherapy or your use of Taxotere® or Docetaxel? Yes ☐ No☐

          12. If yes, please identify each healthcare provider who provided the oral
              instructions:

                      Name of Healthcare Provider




          13. Have you ever seen any advertisements (e.g., in magazines or television
              commercials) for Taxotere® or Docetaxel? Yes ☐ No☐

          14. If yes, identify the advertisement or commercial, and approximately when you
              saw the advertisement or commercial:

                                                                  Date of Advertisement or
                   Type of Advertisement or Commercial
                                                                        Commercial




          15. Other than through your attorneys, have you had any communication, oral or
              written, with any of the Defendants or their representatives? Yes ☐ No☐

          16. If yes, please identify:

                    Date of                Method of        Name of       Substance of
                 Communication           Communication    Representative Communication




          17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ☐ No☐



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   YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
   DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR
   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ☐ No☐

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ☐ No☐

                          Provider                  Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ☐
                No☐

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ☐ No☐

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                          Year                    Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.


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                          Year                    Annual Gross Income




             25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                 expenses? Yes ☐ No☐

             26. If yes, please identify and itemize all out-of-pocket expenses you have
                 incurred:

                              Expense                 Expense Amount




VII.   HAIR LOSS INFORMATION

Background
             1. Did you ever see a healthcare provider for hair loss BEFORE taking
                Taxotere® or Docetaxel? Yes ☐ No ☐

             2. Did your hair loss begin during chemotherapy treatment? Yes ☐ No☐

             3. If yes, did you FIRST experience hair loss:

                    a) After treatment with another chemotherapy agent: ☐

                    b) After treatment with Taxotere® or Docetaxel: ☐

             4. At any time before or during the hair loss were you:

                              Condition                  Yes           Description
                   Pregnant                               ☐
                   Seriously ill                          ☐
                   Hospitalized                           ☐
                   Under severe stress                    ☐
                   Undergoing treatment for any
                                                          ☐
                   other medical condition

             5. When did you FIRST discuss with or see a healthcare provider about your hair
                loss? __________________________________________________________

             6. Have you started any special diets at any time before or during the hair loss?
                Yes ☐ No ☐ Describe:___________________________________________


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Hair Loss History

                                                                                      Name of Healthcare
                                  Question                           No       Yes
                                                                                          Provider
            Have you had a biopsy of your scalp to evaluate          ☐        ☐
            your hair loss problem?
            Have you had blood tests done to evaluate your hair      ☐        ☐
            loss problem?
            Have your hormones ever been checked to evaluate         ☐        ☐
            your hair loss problem?
            Have you ever been told by a doctor that you have a      ☐        ☐
            thyroid condition?
            Have you ever been treated with thyroid hormone?         ☐        ☐
            Have you ever been told by a doctor that you have a      ☐        ☐
            low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ☐ No☐

              8. If yes, please identify:

                                                    Dates of
                        Treating Physician                               Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ☐ No☐

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ☐
                    Rheumatoid arthritis                  ☐
                    Celiac disease                        ☐
                    Type 1 diabetes                       ☐
                    Sjogrens disease                      ☐
                    Vitiligo                              ☐
                    Hashimoto’s                           ☐
                    Other:_____________________           ☐


              11. Were you taking any medications when your hair loss began? Yes ☐ No☐



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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:




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                                                        Period of
                        Hair Treatment            Yes                       Frequency
                                                          Time
                                                                    ☐   Never
               Hair chemically processed or                         ☐   Once a week
               straightened (relaxers, keratin,                     ☐   2-3 times a week
                                                  ☐
               Brazilian blowout, Japanese                          ☐   Once a month
               straightening, other)                                ☐   Once every 1-2 months
                                                                    ☐   A few times a year
                                                                    ☐   Never
                                                                    ☐   Once a week
               Hair heat processed or
                                                                    ☐   2-3 times a week
               straightened (blow drying/ flat    ☐
               ironing, curling)                                    ☐   Once a month
                                                                    ☐   Once every 1-2 months
                                                                    ☐   A few times a year
                                                                    ☐   Never
                                                                    ☐   Once a week
                                                                    ☐   2-3 times a week
               Hair dyed                          ☐
                                                                    ☐   Once a month
                                                                    ☐   Once every 1-2 months
                                                                    ☐   A few times a year
                                                                    ☐   Never
                                                                    ☐   Once a week
                                                                    ☐   2-3 times a week
               Hair highlighted                   ☐
                                                                    ☐   Once a month
                                                                    ☐   Once every 1-2 months
                                                                    ☐   A few times a year
                                                                    ☐   Never
                                                                    ☐   Once a week
                                                                    ☐   2-3 times a week
               Braids                             ☐
                                                                    ☐   Once a month
                                                                    ☐   Once every 1-2 months
                                                                    ☐   A few times a year
                                                                    ☐   Never
                                                                    ☐   Once a week
                                                                    ☐   2-3 times a week
               Weaves                             ☐
                                                                    ☐   Once a month
                                                                    ☐   Once every 1-2 months
                                                                    ☐   A few times a year




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                                                                         ☐   Never
                                                                         ☐   Once a week
                                                                         ☐   2-3 times a week
                      Tight hairstyles (ponytails)      ☐
                                                                         ☐   Once a month
                                                                         ☐   Once every 1-2 months
                                                                         ☐   A few times a year
                                                                         ☐   Never
                                                                         ☐   Once a week
                                                                         ☐   2-3 times a week
                      Extensions                        ☐
                                                                         ☐   Once a month
                                                                         ☐   Once every 1-2 months
                                                                         ☐   A few times a year
                                                                         ☐   Never
                                                                         ☐   Once a week
                                                                         ☐   2-3 times a week
                      Other:_____________________       ☐
                                                                         ☐   Once a month
                                                                         ☐   Once every 1-2 months
                                                                         ☐   A few times a year

             14. Have you ever used the following?

                                   Hair Treatment                  Yes
                      WEN Cleansing Conditioners                    ☐
                      Unilever Suave Professionals Keratin
                                                                    ☐
                      Infusion
                      L’Oréal Chemical Relaxer                      ☐

             15. Has your hair care regimen been different in the past? Yes ☐ No☐

                       a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?

                                    Hair Treatment                 Yes
                      Folic Acid supplementation                    ☐
                      Minoxidil                                     ☐
                      Other:___________________________             ☐

             17. Did you wear a cool cap during chemotherapy treatment? Yes ☐ No☐

             18. If yes, which cooling cap did you wear: ______________________________

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              19. Have you used any over-the-counter medications, supplements, or cosmetic
                  aides for your hair loss? Yes ☐ No☐

              20. If yes, please state the following:

                                                        When was     How long did
                             Treatment                                               Did it help?
                                                         it tried?    you try it?
                                                                                    ☐   Yes
                                                                                    ☐   No
                                                                                    ☐   Yes
                                                                                    ☐   No
                                                                                    ☐   Yes
                                                                                    ☐   No

              21. Has anything helped your hair loss? Yes ☐ No☐

              22. If yes, please specify:

                                                         Dates of     Place of
                          Type of Product                                           Results of Use
                                                          Use         Purchase




              23. As of the date you verify your PFS, how long have you had alopecia or
                  incomplete hair re-growth?_________________________________________

              24. Has any hair regrowth occurred? Yes ☐ No☐

              25. Have you ever worn a wig to conceal your hair loss? Yes ☐ No☐

              26. Specify:

                                                                        Place
                         Dates Used            Period of Use                        Cost of Item
                                                                      Purchased




VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:




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                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                    Address                 Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:

      Name                Address               Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from


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                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                   Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                   Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                              Dates of
      Carrier              Address                               Policy Number
                                              & SSN                                     Coverage




IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not have
   the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings on
   paper or in electronic form) and signed authorizations and attach a copy of them to this PFS.

Requests

                                                                             If No, who has the
                   Type of Document(s)                        Yes    No
                                                                                document(s)?
 Documents you reviewed to prepare your answers to
 this Plaintiff Fact Sheet.
 Your attorney may withhold some documents on claims          ☐       ☐
 of attorney-client privilege or work product protection
 and, if so, provide a privilege log


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                                                                        If No, who has the
                 Type of Document(s)                         Yes   No
                                                                           document(s)?
Medical records or other documents related to the use
of Taxotere® or Docetaxel at any time for the past           ☐     ☐
twelve (12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                             ☐     ☐
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                             ☐     ☐
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides
                                                             ☐     ☐
and/or specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
or medication at any time within the past eight (8)          ☐     ☐
years.
Documents identifying all chemotherapy agents that
                                                             ☐     ☐
you have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time          ☐     ☐
within the last five (5) years.
Instructions, product warnings, package inserts,
handouts or other materials that you were provided or        ☐     ☐
obtained in connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                  ☐     ☐
Articles discussing Taxotere®.                               ☐     ☐
Any packaging, container, box, or label for Taxotere®
or Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                       ☐     ☐
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                             ☐     ☐
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide
a privilege log.
Documents obtained directly or indirectly from any of
                                                             ☐     ☐
the Defendants.


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                                                                      If No, who has the
                 Type of Document(s)                       Yes   No
                                                                         document(s)?
Communications or correspondence between you and
                                                           ☐     ☐
any representative of the Defendants.
Photographs, drawing, slides, videos, recordings,
DVDs, or any other media that show your alleged            ☐     ☐
injury or its effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition
                                                           ☐     ☐
or symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                           ☐     ☐
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of
the five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year           ☐     ☐
thereafter or W-2s for each of the five (5) years
preceding the injury you allege to be caused by
Taxotere® or Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare          ☐     ☐
providers.
Records of any other expenses allegedly incurred as a
                                                           ☐     ☐
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                           ☐     ☐
testamentary or letters of administration.
If you are suing in a representative capacity on behalf
of a deceased person, decedent’s death certificate         ☐     ☐
and/or autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or             ☐     ☐
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or             ☐     ☐
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment       ☐     ☐
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                           ☐     ☐
composition in present day.


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                                                                            If No, who has the
                Type of Document(s)                         Yes     No
                                                                               document(s)?
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ☐      ☐
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
      provided in connection with this Plaintiff Profile Form is true and correct to the best of my
      knowledge information and belief at the present time.

________________________                    ___________________
Signature                                   Date

XI. AUTHORIZATIONS

             See next page for Authorizations.




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                            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                      Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                        (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

TO:
Patient Name:
DOB:
SSN:

                  I, _____________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe McCall LLP,
Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw & Culbertson LLP, Kirkland &
Ellis LLP and/or their duly assigned agents, copies of the following records and/or information from the time period of twelve (12) years
prior to the date on which the authorization is signed:

* All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
  correspondence, test results, statements, questionnaires/histories, office and doctor's handwritten notes, and records received by other
  physicians. Said medical records shall include all information regarding AIDS and HIV status.
* All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac catheterization reports.
* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
  pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization videos/CDs/films/reels, and
  echocardiogram videos.
* All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
* All billing records including all statements, itemized bills, and insurance records.
**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the disclosure of notes or
records pertaining to psychiatric, psychological, or mental health treatment or diagnosis as such terms are defined by HIPAA, 45
CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for the
purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical history, care,
treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other matter bearing on his or her
medical or physical condition, unless you receive an additional authorization permitting such discussion. Subject to all
applicable legal objections, this restriction does not apply to discussing my medical history, care, treatment, diagnosis,
prognosis, information revealed by or in the medical records, or any other matter bearing on my medical or physical condition
at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do so
in writing and present my written revocation to the health information management department. I understand the revocation will not
apply to information that has already been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked, this
authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need not
sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided in CFR
164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name:                                             (plaintiff/representative)


Signature: ______________________________________ Date


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                    LIM ITED AUTHORIZATIO N TO DISCLO SE EM PLOYM ENT
                      RECORDS AND INFORM ATION (HIPAA COM PLIANT
                     AUTHORIZATION FO RM PURSUANT TO 45 CFR 164.508)

T O:
         Name of Employer



         Address, City State and Zip Code

RE:      Employee Name:                                                    AKA:
         Date of Birth: ________________________ Social Security Number:

         Address:

I authorize the limited disclosure of my employment records including medical information protected by HIPAA,
45 CFR 164.508, for the purpose of review and evaluation in connection with a legal claim.

This authorization only authorizes release of records and/or information from the time period of seven (7)
years prior to the date on which this authorization is signed. I expressly request that all entities identified
above disclose full and complete records from the time period of seven (7) years prior to the date on which this
authorization is signed, including the following:

This will authorize you to furnish copies of all applications for employment; resumes; records of all positions
held; job descriptions of positions held; wage and income statements and/or compensation records; wage
increases and decreases; evaluations, reviews and job performance summaries; W-2s; employee health files, and
correspondence and memoranda regarding the undersigned.



I authorize you to release the information to:



Name (Records Requestor)



Street Address                                                 City                                  State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created,
learned or discovered at any time in the future, either by you or another party, you must produce such information to
the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, /
understand that any actions already taken in reliance on this authorization cannot be reversed, and my revocation
will not affect those actions. Any facsimile, copy or photocopy of the authorization shall authorize you to release
the records herein.




Signature of Employee or Personal Representative           Date         Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




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                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


To:
                       Name


                       Address


                       City, State and Zip Code

      This will authorize you to furnish copies of any and all workers' compensation records
of any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:


                                           Name of Claimant

 whose date of birth is ______________and whose social security number is



       You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.



        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code


        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




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        This authorization shall be considered as continuing in nature and is to be given full force
and effect to release information of any of the foregoing learned or determined after the date hereof.
It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy
of this authorization with the same validity as through the original had been presented to you.


Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                       LIMITED AUTHORIZATION FOR RELEASE OF
                             DISABILITY CLAIMS RECORDS



To:
                        Name


                        Address


                        City, State and Zip Code


        This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or
other documents, concerning:

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is


        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.


        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                      FOR RELEASE OF
                                 HEALTH INSURANCE RECORDS


To:
                        Name


                        Address


                        City, State and Zip Code

        This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or
information from the time period of ten (10) years prior to the date on which this authorization
is signed.

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.

        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.
        This authorization is not valid unless the record requestor named above has executed the
acknowledgement at the bottom of this authorization.
        This authorization shall be considered as continuing in nature and is to be given full force and
effect to release information of any of the foregoing learned or determined after the date hereof. It is
expressly understood by the undersigned and you are authorized to accept a copy or photocopy of
this authorization with the same validity as through the original had been presented to you.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
                    PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
                   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

         I, ________________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
         Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe
         McCall LLP, Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw &
         Culbertson LLP, Kirkland & Ellis LLP and/or their duly assigned agents, copies of the following records and/or information
         from the time period of ten (10) years prior to the date on which the authorization is signed:

     •   All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability Act, 45 CFR
         §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any medium) by a health care provider
         who is a mental health professional documenting or analyzing the contents of conversations during a private counseling session
         or a group, joint or family counseling session and that are separated from the rest of the individual’s record. This authorization
         does not authorize ex parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants for the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or in the medical or mental
health records, or any other matter bearing on his or her medical, psychological, or physical condition, unless you receive
an additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does not
apply to discussing my medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed
by or in the medical or mental health records, or any other matter bearing on my medical, psychological, or physical
condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or
mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand the revocation will
not apply to information that has already been released in response to this authorization. I understand the revocation will not apply to
my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked,
this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need
not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided
in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: ______________________________________ Date ________________




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                           MDL NO. 2740
PRODUCTS LIABILITY LITIGATION
                                                      SECTION “N” (5)
THIS DOCUMENT RELATES TO:

       ALL CASES                                      HON. KURT D. ENGELHARDT



              DEFENDANT FACT SHEET – PRODUCT IDENTIFICATION
         Within seventy-five (75) days of receiving a substantially completed Plaintiff Fact Sheet
(“PFS”), Defendants Sanofi S.A., Aventis Pharma S.A., and Sanofi-Aventis U.S., LLC, and
Winthrop US (collectively referred to as “Defendants”) must complete and serve this Defendant
Fact Sheet (“DFS”) and identify or provide DOCUMENTS and/or data responsive to the questions
set forth below for each such Plaintiff. Defendants must supplement their responses to the extent
that additional information is provided by Plaintiff in a supplemental PFS, within sixty (60) days
of receiving the supplemental information. In the event the DFS does not provide YOU with
enough space to complete YOUR responses or answers, please attach additional sheets if
necessary. Please identify any DOCUMENTS that YOU are producing as responsive to a question
or request by bates number.

                              DEFINITIONS & INSTRUCTIONS

As used herein, “YOU,” “YOUR,” or “YOURS” means the responding DEFENDANTS.

“DEFENDANTS” shall mean and refer to those companies involved in the development,
manufacture and distribution of the drugs known as Taxotere (Docetaxel) including Sanofi S.A.,
Aventis Pharma S.A., Sanofi-Aventis U.S., LLC, and Winthrop US shall each answer each
document request and question that not only calls for YOUR knowledge, but also for all knowledge
that is available to YOU by reasonable inquiry, including inquiry of YOUR "officers," "directors,"
"agents," "employees,” and attorneys.

As used herein, the phrase “HEALTHCARE PROVIDER” means: any physician or other
individual healthcare provider, health care facility, clinic, hospital or hospital pharmacy identified
by full name and address in PFS Section Sections V.13 and V.14 who administered, prescribed,
and/or dispensed Taxotere (Docetaxel) to the Plaintiff.

“REMUNERATION” means anything of value, directly or indirectly, overtly or covertly, in cash
or in kind, including but not limited to monetary payment, compensation, incentives, preceptorship
fees, gifts, entertainment, sports and/or concert tickets, speaker fees, grants, SAMPLES,
reimbursement assistance, beneficiary inducements, wellness programs, patience assistance
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programs, transportation and/or lodging assistance, adherence to treatment regimen programs,
incentives or inducements to remain in network, navigator/care coordination programs, end of life
and/or palliative care programs, third party payments of premiums, or any other inducements or
programs.
As used herein, the term “DOCUMENT” shall, consistent with Federal Rule of Civil Procedure
34(a)(1)(A), refer to any “designated documents or electronically stored information – including
writings, drawings, graphs, charts, photographs, sound recordings, images, and other data or data
compilations – stored in any medium form which information can be obtained either directly or, if
necessary, after translation by the responding party into a reasonably usable form.”

If YOU are aware that any DOCUMENT that was, or might have been, responsive to any sections
of this DFS which concern or relate to Plaintiff or Plaintiff’s Named Facilities was destroyed,
erased, surrendered or otherwise removed from YOUR possession, custody or control, at any time,
provide, to the maximum extent possible, the following information: (a) the nature of the
DOCUMENT (e,g., letter, memorandum, contract, etc.,) and a description of its subject matter; (b)
the author or sender of the DOCUMENT; (c) the recipient(s) of the DOCUMENT; (d) the date
that the DOCUMENT was authored, sent and received; (e) the circumstances surrounding the
removal of the DOCUMENT from YOUR custody, possession or control; and (f) the identity of
the person(s) having knowledge of such removal from YOUR custody, possession or control.

As used herein, “KEY OPINION LEADER” or “THOUGHT LEADER” shall mean and refer to
physicians, often academic researchers, who are believed by DEFENDANTS to be effective at
transmitting messages to their peers and others in the medical community. This term shall mean
and refer to any doctors or medical professionals hired by, consulted with, or retained by
DEFENDANTS to, amongst other things, consult, give lectures, respond to media inquiries,
conduct clinical trials, write articles or abstracts, sign their names as authors to articles or abstracts
written by others, sit on advisory boards and make presentations on their behalf at regulatory
meetings or hearings.

The phrase “SAMPLES” refers to any medication or unit of a prescription drug not intended to be
sold, which is given to promote the drug's sales. This includes any vouchers or coupons that
provide for the HEALTHCARE PROVIDERS or patients access to the medication for a specified
period of time.

“PATIENT ASSISTANCE PROGRAM” means programs created by drug companies, such as
Sanofi, to offer free or low cost drugs to individuals who are unable to pay for their medication.
These Programs may also be called indigent drug programs, charitable drug programs or
medication assistance programs.

The phrase “SALES REPRESENTATIVE” means any person presently or formerly engaged or
employed by YOU whose job duties include calling on physicians or other health care
professionals, healthcare facilities, hospitals, and/or physician practice groups; promoting drugs
manufactured or licensed by YOU to physicians or other HEALTH CARE PROVIDERS;
distributing drug SAMPLES to physicians or other HEALTH CARE PROVIDERS. “SALES
REPRESENTATIVE” also includes those who occupy positions titled “Professional Sales
Representative,” “Sales Professional,” “Specialty Sales Representative,” “Senior Sales

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Representative,” “Senior Health Care Representative,” “Professional Representative,” “Health
Care Representative,” “Institutional” or “Managed Care” sales representative, “Oncology Sales
Representative,” “Medical Service Representative,” and “Medical Sales Representative” or any
other titles used by Defendants and any of its divisions SALES REPRESENTATIVE also includes
any contract employees or SALES REPRESENTATIVES from other companies involved in the
promotion or co-promotion of Taxotere (Docetaxel) .

The phrase “SALES MANAGER” means any person presently or formerly engaged or employed
by YOU whose job duties include managing SALES REPRESENTATIVES and/or the promotion
or marketing of pharmaceutical products in a specific geographic region. “SALES MANAGER”
includes those who occupy positions titled “District Sales Manager,” “Senior Regional Sales
Manager,” “Regional Sales Manager,” “Area Business Manager”, “Business Manager,” or any
other titles YOU use or have used in the past for managers involved in the promotion or marketing
of Taxotere (Docetaxel).

The phrase “MEDICAL SCIENCE LIAISON(S)” means any person presently or formerly
engaged or employed by YOU for the purpose of sales support and direct field communication
with physicians or other HEALTH CARE PROVIDERS about medical and science information
related to Taxotere (Docetaxel), and opinion leader management. This includes employees with
the titles of “Medical Science Liaison (MSL),” “Clinical Education Consultant (CEC)” or any
other titles YOU use or have used in the past for these employees.

The phrase “MARKETING ORGANIZATION REPRESENTATIVE,” means any person
presently or formerly engaged or employed by YOU for the purpose of generating interest in
Taxotere (Docetaxel) by creating and implementing a marketing campaign(s) to reach physicians
or other HEALTHCARE PROVIDERS. This includes employees with the title of “Marketing
Representative” or any other titles YOU use or have used in the past for these employees.

The phrase “CALL NOTES” means any and all writings, notations, electronically stored
information, memoranda, DOCUMENTS, emails, database entries and reports or records, internal
communications and any other information reflecting any contact with HEALTHCARE
PROVIDERS, and/or information about or referring to HEALTHCARE PROVIDERS related to
Taxotere (Docetaxel), oncology, or the treatment of cancer and chemotherapy.

The phrase “TARGETING INFORMATION” means any information the company uses to
identify a particular person, group of people, type of health care provider or demographic within a
larger audience regarding the promotion of Taxotere (Docetaxel). This includes documentation,
including electronically stored information, designating particular campaigns, PROMOTIONAL
MATERIAL and/or other promotional efforts directed toward particular types or specialties of
healthcare providers (e.g., oncologists) and/or specifically identified healthcare providers.



I.     CASE INFORMATION


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        This DFS pertains to the following case:

        Case caption:_____________________________________________________

        Civil Action No.__________________________________________________

        Court in which action was originally filed:______________________________

        Date this DFS was completed:________________________________


II.     SALE OF TAXOTERE (DOCETAXEL) TO DISPENSER
        (HOSPITAL/PHARMACY) DIRECTLY AND/OR THROUGH GROUP
        PURCHASING ORGANIZATIONS

A.      Did YOU sell, distribute, deliver or otherwise provide Taxotere (Docetaxel) to, any
        HEALTHCARE PROVIDER, either directly or pursuant to a Group Purchasing
        Organization (“GPO”), identified by the Plaintiff in Sections V.13 and V.14 of the PFS,
        during the time period of twenty-four (24) months preceding Plaintiff’s first administration
        of Taxotere through the Plaintiff’s last administration of Taxotere (Docetaxel)?

               Yes_____        No_____

B.      If YOUR answer is “Yes” to Question A. above, please provide a list of all deliveries or
        shipments of Taxotere (Docetaxel) sold, distributed or otherwise provided to each of the
        HEALTHCARE PROVIDERS, as identified by the Plaintiff in Sections V.13 and V.14 of
        the PFS, for the time period spanning from twenty-four (24) months prior to Plaintiff’s first
        administration of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere
        (Docetaxel). Please include the name of each HEALTHCARE PROVIDER, the date of
        shipment/distribution of Taxotere (Docetaxel), and the amount of Taxotere (Docetaxel)
        distributed on said date.

 Name of Healthcare Provider               Date of Shipment               Amount of Taxotere
                                             Distribution                    Distributed




C.      Please provide all DOCUMENTS reflecting sale or purchase agreements regarding
        Taxotere (Docetaxel) between DEFENDANTS and the HEALTHCARE PROVIDERS
        identified by Plaintiff in Section Sections V.13 and V.14 of the PFS in effect during the
        time period spanning from twenty-four (24) months prior to Plaintiff’s first administration
        of Taxotere (Docetaxel) through Plaintiff’s last administration of Taxotere (Docetaxel).



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D.       Please provide all DOCUMENTS, including product labels, patient information packets,
         order forms, purchase orders, billing records, invoices, and other DOCUMENTS related to
         the shipments of Taxotere (Docetaxel) shipped to the HEALTHCARE PROVIDERS
         identified by Plaintiff in Sections V.13 and V.14 of the PFS for the time period spanning
         from twenty-four (24) months prior to Plaintiff’s first administration of Taxotere
         (Docetaxel) through to Plaintiff’s last administration of Taxotere (Docetaxel), and
         associate each label with the code numbers to which they are applicable. With regard to
         product labels, identification of the labels that applied to applicable lot numbers or dates is
         acceptable.

III.     COMMUNICATIONS AND CONTACTS WITH PLAINTIFF’S HEALTHCARE
         PROVIDERS

A.       For each HEALTHCARE PROVIDER identified in Sections V.13 and V.14 of the PFS:

            1. Identify by name all of Defendants’ SALES REPRESENTATIVES,
            MARKETING ORGANIZATIONS REPRESENTATIVES, MEDICAL SCIENCE
            LIAISONS, and/or any other detail persons (“Representative”) who came in contact
            with any of Plaintiff’s HEALTHCARE PROVIDER(S) in connection with Taxotere
            (Docetaxel) during the timeframe for which such records are available, namely 1996 to
            present.

            Name of Representative                                        Title




            2. Identify the time period, and specifically the dates, during which the Representative
            had any such contact with the HEALTHCARE PROVIDER.

       Name of Representative              Healthcare Provider                Dates of Contact




            3. If the Representative is no longer an employee, Defendants will provide the dates
            of employment for the employee and will also provide the last known address,
            telephone number, and email address for the Representative.

 Name          of Dates of                 Last Known        Telephone            Email Address
 Representative   Employment               Address           Number




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            4. For each Representative, provide the names of the Representative’s
            Supervising/District SALES MANAGER. If the Representative’s Supervising District
            SALES MANAGER is no longer an employee, Defendants will provide the dates of
            employment for the employee and will also provide the last known address, telephone
            number, and email address for the former employee.

 Supervising/Dis     Current or     Dates     of Last             Telephone     Email Address
 trict SALES         Former         Employment   Known            Number
 MANAGER             Employee                    Address




B.     For each Defendants’ Sale Representatives, MARKETING ORGANIZATION
       REPRESENTATIVES, MEDICAL SCIENCE LIAISONS, and/or any other detail persons
       (“Representative”), previously identified in Section III.A of this DFS please produce the
       following:

       1.      His/her complete CALL NOTES for each such contact that relates to (a) Taxotere
               (Docetaxel); and/or (b) hair loss; and/or (c) permanent hair loss and/or alopecia.

       2.      Produce all emails or other written correspondence with the HEALTHCARE
               PROVIDER(S) that relates to (a) Taxotere (Docetaxel); and/or (b) hair loss; and/or
               (c) permanent hair loss and/or alopecia.

       3.      Produce any and all TARGETING INFORMATION related to the HEALTHCARE
               PROVIDER(S) identified by Plaintiff in Sections V.13 and V.14 of the PFS.

C.     For the HEALTHCARE PROVIDERS identified by Plaintiff in Sections V.13 and V.14 of
       the PFS, please provide the following information related to SAMPLES of Taxotere
       (Docetaxel):

       1.      The date(s) on which such SAMPLES of Taxotere (Docetaxel) were provided;

       2.      The date(s) on which the Taxotere (Docetaxel) was provided through a PATIENT
               ASSISTANCE PROGRAM;

       3.      The amount, dosage, and lot numbers of such SAMPLES and/or Taxotere
               (Docetaxel) provided through a PATIENT ASSISTANCE PROGRAM;

       4.      The name(s) of the DEFENDANT representative(s) and/or department who
               provided such SAMPLES Taxotere (Docetaxel);

       5.      The name(s) of the DEFENDANT representative(s) and/or department who
               provided Taxotere (Docetaxel) through a PATIENT ASSISTANCE PROGRAM.

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 HEALTHCARE              Date(s)             Amount and         Lot Number       Representative
 PROVIDER                Shipped             Dosage                              Who Provided
                         and/or
                         Provided




IV.     CONSULTING WITH PLAINTIFF’S HEALTHCARE PROVIDER

       For each HEALTHCARE PROVIDER identified in Plaintiff’s PFS, please answer the
following:

A.      If the HEALTHCARE PROVIDER has been consulted, retained, or compensated by
        Defendants as a “KEY OPINION LEADER,” “THOUGHT LEADER,” member of a
        “speaker’s bureau,” “clinical investigator,” “consultant,” advisory board member or in a
        similar capacity or otherwise has or had a financial relationship with or has been provided
        REMUNERATION by DEFENDANTS, please state the following for each:

        1.     Identify the HEALTHCARE PROVIDER.

        2.     Identify the date(s) that the HEALTHCARE PROVIDER was consulted, retained,
               or compensated.

        3.     State the nature of the affiliation.

        4.   State the type amount of REMUNERATION provided to the HEALTHCARE
        PROVIDER.

         HEALTHCARE              Date(s)                  Nature of          REMUNERATION
         PROVIDER                Consulted,               Affiliation
                                 Retained, or
                                 Compensated




        5.      Please identify and produce any and all consulting agreements/contracts and/or
        retainer agreements/contracts entered into by DEFENDANTS with the HEALTHCARE
        PROVIDERS identified in Sections V.13 and V.14 of the PFS.

V.      PLAINTIFF’S HEALTHCARE PROVIDER’S PRACTICES




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A.     Provide all chemotherapy related prescriber-level data designed to track prescribing or
       treating practices that YOU obtained on Plaintiff’s HEALTHCARE PROVIDERS
       identified in Sections V.13 and V.14 of the PFS.

B.     Was the HEALTHCARE PROVIDER(S) identified in Sections V.13 and V.14 of the PFS
       involved in any clinical trial sponsored by DEFENDANTS related to the treatment of
       cancer?

       _____Yes _____ No

              If yes, provide the final Investigator Protocol related to any such trial(s).

C. Did the Plaintiff’s HEALTHCARE PROVIDER ever report any adverse events to
   DEFENDANTS as they pertain to Taxotere (Docetaxel)?

       _________      Yes    __________      No

       If yes, provide all DOCUMENTS related to the adverse event report/MedWatch form.

                                       CERTIFICATION

         I am employed by _______________________, one of the DEFENDANTS in this
litigation.    I am authorized by ______________________________ [name of other
DEFENDANTS] to execute this certification on each corporation’s behalf. The foregoing answers
were prepared with the assistance of a number of individual, including counsel for
DEFENDANTS, upon whose advice and information I relied. I declare under penalty of perjury
subject to 28 U.S.C. § 1746 that all of the information provided in this Defendant Fact Sheet is
true and correct to the best of my knowledge and that I have supplied all requested DOCUMENTS
to the extent that such DOCUMENTS are in my possession, custody and control (including the
custody and control of my lawyers).
____________________         _______________________                 ____________________
Signature                    Print Name                              Date




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